      To: The Honorable Frank D. Whitney
            U.S. District Court Judge
   From: John T. Holiday
            U.S. Probation Officer
 Subject: Anthony Young
            Case Number: 3:07CR000173- 001                                                   NORTH CAROLINA WESTERN
            OUT-OF-COUNTRY TRAVEL                                                                     MEMORANDUM
   Date: 1/6/2014


The above named individual was sentenced by Your Honor on 11/02/2009 for Count 1: Conspiracy to Defraud the United
States; 18 U.S.C. 371, a Class D Felony, and Count 5: Mail Fraud and Aiding and Abetting the Same, 18 U.S.C. 1341 and
2, a Class B Felony, and sentenced to Count 1 & 5, 27 months imprisonment to run concurrently to be followed by a total
of 3 years supervised release. Special Conditions include: 1) $200.00 special assessment (paid); Restitution:
$2,787,499.91 (Balance: $2,783,447.20).

On 12/19/2011 the defendant was released to his term of supervision to the Western District of North Carolina. Mr. Young
currently resides with his wife and has not been able to secure employment since his release. The defendant was doing
well on supervision and was moved to a low risk case load on 1/11/2012. However, the defendant later tested postive for
marijuana on 11/20/2012; therefore, he was moved back to a generalized case load and placed back on random
urinaylsis testing. Since that time the defendant has remained clean to date.

On 4/2/2013 Your Honor approved the defendant to travel on a cruise to the Bahamas for a family wedding and also to
Aruba for a trip provided by his in-laws. Mr Young is once again requesting to travel to Aruba 7/6/2014 - 7/13/2014 and to
stay at the Aruba Marriot Resort. This trip would be under the same circumstances as the trip which was approved
previously. The defendant would be a guest of his in-laws; therefore, the trip would cost a nominal amount of money.

Based on the Defendant’s compliance at this time, the U. S. Probation Office recommends authorization of travel with
continued compliance.

Thank you for your time and attention to this matter. Please do not hesitate to contact me at 704-350-7651, should you
have any questions.




THE COURT ORDERS:

X Permission to Travel Approved-based on continued
compliance
☐ Permission to Travel Denied
☐ Other

                                                               Signed: 1/6/2014




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